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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                       CASE NO.: 0:22-CV-61842

  DONALD J. TRUMP,

           Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  _____________________________________/

          ORDER GRANTING BRIAN M. UNDERWOOD, JR.’S MOTION TO APPEAR
             PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
  Brian M. Underwood, Jr., Esq., Consent to Designation, and Request to Electronically Receive
  Notices of Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission,
  Practice, Peer Review, and Discipline of Attorneys in the United States District Court for the
  Southern District of Florida and Section 2B of the CM/ECF Administrative Procedures. This Court
  having considered the motion and all other relevant factors, it is hereby
           ORDERED AND ADJUDGED that:
           The Motion is GRANTED. Brian M. Underwood, Jr., Esq., may appear and participate in
  this action on behalf of Defendant, Cable News Network, Inc. The Clerk shall provide electronic
  notification     of   all   electronic   filings     to   Brian   M.   Underwood,   Jr.,   Esq.   at
  brian.underwood@bclplaw.com
           DONE AND ORDERED in Chambers at Fort Lauderdale, Florida this ___ day of October

  2022.

                                                     __________________________________________
                                                     HONORABLE RAAG SINGHAL
                                                     UNITED STATES DISTRICT COURT JUDGE

  cc:      Eric C. Edison, Esq. (eedison@gunster.com)
           James M. Trusty, Esq. (jtrusty@ifrahlaw.com)
